                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               ST. JOSEPH DIVISION


       BRENDA DAVIS, et al.,              )
                                          )
           Plaintiffs,                    ) Case No.: 5:17-cv-06058-SWH
                                          )
                    v.                    )
                                          )
       BUCHANAN COUNTY, MISSOURI, et al., )
                                          )
           Defendants.                    )

                                ENTRY OF APPEARANCE

       COMES NOW Jeffrey A. Bullins of Simpson, Logback, Lynch, Norris P.A., and hereby

enters his appearance as counsel on behalf of Defendant Michelle L. Munger.


                                           Respectfully Submitted

                                           SIMPSON, LOGBACK, LYNCH, NORRIS, P.A.


                                           By: /s/ Jeffrey A. Bullins
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                                           MICHELLE MUNGER




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing was served, via the Court’s
electronic filing system, this 11th day of January 2019, to all counsel of record, and that an
original signed copy is maintained by my office in accordance with Missouri Rules of Civil
Procedure.


                                                     /s/ Jeffrey A. Bullins
                                                     Attorney




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